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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LENA MARIE LINDBERG,             )
                                 )
          Plaintiff,             )
                                 )                    Civil Action No. 23-01186 (UNA)
                                 )
                                 )
STONE PARK ENTERTAINMENT et al., )
                                 )
          Defendants.            )


                                  MEMORANDUM OPINION

       This action, brought pro se, is before the Court on review of Plaintiff’s Complaint for

Violation of Fair Labor Standards, ECF No. 1, and application to proceed in forma pauperis, ECF

No. 2. The Court will grant the application and dismiss the complaint.

       Complaints filed by pro se litigants are held to less stringent standards than those applied

to formal pleadings drafted by lawyers. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Still,

pro se litigants must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch, 656 F.

Supp. 237, 239 (D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires that a

complaint contain a short and plain statement of the grounds upon which the court’s jurisdiction

depends, a short and plain statement of the claim showing that the pleader is entitled to relief, and

a demand for judgment for the relief the pleader seeks. Fed. R. Civ. P. 8(a). It “does not require

detailed factual allegations, but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks

and citation omitted). A complaint that is “rambling, disjointed, incoherent, or full of irrelevant

and confusing material will patently fail [Rule 8(a)’s] standard,” as will one containing “an untidy

assortment of claims that are neither plainly nor concisely stated.” Jiggetts v. District of Columbia,
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319 F.R.D. 408, 413 (D.D.C. 2017), aff’d sub nom. Cooper v. District of Columbia, No. 17-7021,

2017 WL 5664737 (D.C. Cir. Nov. 1, 2017) (cleaned up).

          The Rule 8 standard ensures that defendants receive fair notice of the claim being asserted

so that they can prepare a responsive answer, mount an adequate defense, and determine whether

the doctrine of res judicata applies. See Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977).

The standard also assists the court in determining whether it has jurisdiction over the subject

matter.

          Plaintiff, a resident of Chicago, Illinois, has submitted a 12-page rambling complaint

against seven “gentleman’s clubs,” seeking “unpaid wages.” Compl. at 5. Plaintiff alleges that

since 2005,” she “worked” but “did not get paid any wages with the exception of only a couple of

paychecks” she “received . . . and only temporarily from [defendant] Spearmint Rhino in Las

Vegas.” Id. In addition to that club, Plaintiff sues two clubs in Illinois; one club in Tampa, Florida;

and three clubs in New York. See Compl. at 2-3. Allegedly, “none of the other clubs ever paid

[Plaintiff] anything,” and she “was extorted, threatened, stalked, and sexually abused in the

process.” Id. at 5. The alleged violations occurred “April 2005 through January 2020,” id. at 9,

but when and by which defendant are unspecified.

          Although Plaintiff has invoked the Fair Labor Standards Act (FLSA), 29 U.S.C. §§ 201 et

seq., she has pleaded no cogent set of facts establishing her entitlement to relief under the Act. See

Rhea Lana, Inc. v. United States, 925 F.3d 521, 522–23 (D.C. Cir. 2019) (The FLSA “guarantees

all ‘employees’ a federal minimum wage. . . . . The Act does not extend its protections to workers

who are volunteers rather than employees [or] independent contractors.”) (citations omitted)); see

also Benton v. Laborers’ Joint Training Fund, 210 F. Supp. 3d 99, 106 (D.D.C. 2016) (“[B]efore

an employee can recover overtime wages under the Act, she must first establish that her
                                                   2
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employment relationship is subject to coverage under the FLSA.”) (citing cases)); Driscoll v.

George Washington Univ., 42 F. Supp. 3d 52, 58 (D.D.C. 2012) (“[T]o state a claim under the

FLSA for unpaid overtime, a plaintiff must allege that: (1) the defendant employed [her]; (2) the

defendant is an enterprise engaged in interstate commerce covered by the FLSA or the plaintiff is

otherwise covered by the FLSA; (3) the plaintiff actually worked in excess of a 40–hour work

week; and (4) the defendant failed to pay [her] overtime wages as required by law.”).

Consequently, this case will be dismissed by separate order.



                                                    _________/s/____________
                                                    RUDOLPH CONTRERAS
Date: May 12, 2023                                  United States District Judge




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